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                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE NORTHERN DISTRICT OF TEXAS

CONGHUA YAN

Plaintiff,

v.

TARRANT COUNTY SHERIFF DEPARTMENT, Defendant.

and TARRANT COUNTY DISTRICT ATTORNEY OFFICE, Co-Defendant.

Case No. [4-23CV-288-P]

                             MOTION FOR RECONSIDERATION

                                    AND BRIEF IN SUPPORT

COMES NOW, the Plaintiff, Conghua Yan, and respectfully moves this Honorable Court for a
Motion for Reconsideration and Brief In Support. The Plaintiff requests that this Honorable
Court consider and grant this Motion for Reconsideration and Brief In Support, pursuant to
FRCP 59(e).

In support of this motion, the Plaintiff states as follows:

                                        I. INTRODUCTION

1. On March 22, 2023, the Plaintiff filed a complaint against Tarrant County Sheriff
Department, the defendant and Tarrant County District Attorney Office, the co-defendant. ECF
No. 1,

2. On March 31, 2023, Tarrant County Sheriff Department, the defendant and Tarrant County
District Attorney Office, the co-defendant filed a motion to dismiss against the Plaintiff. ECF
No. 8.

3. On April 21, 2023, the Plaintiff filed a Motion to Strike defendants’ Motion to Dismiss. ECF
No. 12.

4. On April 21, 2023, the Tarrant County Sheriff's Department, the defendant, and the Tarrant
County District Attorney's Office, the co-defendant, filed a Response to Plaintiff’s Motion to
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Strike Defendants’ Motion to Dismiss Motion to Dismiss against the Plaintiff, with a Proposed
Order attached, both in pdf format. ECF No. 15.

5. On May 5th, 2023, the Plaintiff filed a Reply to Response to Plaintiff’s Motion to Strike. ECF
No. 16.

6. On May 8th, 2023, the Court denied the Plaintiff’s Motion to Strike defendants’ Motion to
Dismiss. ECF No. 18.

7. On May 8th, 2023, the Court ordered the Plaintiff to file an Amended Complaint. ECF No.
19.

                                  II. FACTUAL BACKGROUND

8. Per PRO SE HANDBOOK FOR CIVIL SUITS published by Northern District of Texas, the
letter from Karen Mitchell, Clerk of Court to Pro Se litigants, “You are reminded that litigation
in federal court is a complex process. You must follow the Federal Rules of Civil Procedure and
the Local Rules of this Court.”

9. Per PRO SE HANDBOOK FOR CIVIL SUITS published by Northern District of Texas,
section 4. Basics for Filing a Case in the Northern District of Texas, “Every plaintiff and
defendant must follow the rules of the court in which the case is filed. In the Northern District of
Texas there are several sets of rules you must follow. Some rules apply in every federal court in
the country. They include the Federal Rules of Civil Procedure (FRCP), which control
everything from the filing of the complaint to the jury’s verdict.”

10. FRCP rule 7(b)(2) Form. The rules governing captions and other matters of form in
pleadings apply to motions and other papers.

11. FRCP rule 10(b) “Paragraphs; Separate Statements. A party must state its claims or defenses
in numbered paragraphs, each limited as far as practicable to a single set of circumstances. A
later pleading may refer by number to a paragraph in an earlier pleading. If doing so would
promote clarity, each claim founded on a separate transaction or occurrence—and each defense
other than a denial—must be stated in a separate count or defense.” (Emphasis added).
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                      III. Brief in Support of Motion for Reconsideration


12. Despite the emphasis placed on FRCP rules, the defendants' motion to dismiss failed to
comply with the requirement of stating their defense in numbered paragraphs. As a result, the
plaintiff is experiencing difficulties in understanding, addressing, and responding to the
defendants' defense, as the plaintiff is unable to refer to specific numbered paragraphs in the
motion to dismiss. This issue is reflected in the entire portion of ECF No. 8. It should be
highlighted that the term 'must' is employed by both the North District of Texas and the Federal
Rules of Civil Procedure (FRCP) in their requirements, which every plaintiff and defendant are
obliged to adhere to. Although the plaintiff, acting as a Pro Se litigant, has shown genuine
commitment and diligence in abiding by the court's regulations, the plaintiff contends that an
equivalent benchmark should be enforced for the defendants as well.

13. Historically, the United States District Court for the Northern District of Texas had denied
many motions for failing to comply with Federal and local civil rules. In this case, the defendants
were granted a privileged exemption, and the plaintiff was ordered to bear the burden of the
defendants' failure to comply with Federal and local civil rules. The plaintiff was not given
sufficient time to understand the defendants' response, which was in an improper format.

14. The plaintiff seeks a motion for reconsideration under FRCP Rule 12(e) to be granted when
'a pleading to which a responsive pleading is permitted is so vague or ambiguous that a party
cannot reasonably be required to frame a responsive pleading' (emphasis added), due to the
defendants' failure to follow FRCP Rule 10(b).

                                      V. Prayer for Relief

15. Based on the foregoing, Plaintiff prays for the following relief:

       A.      Amend the Order to file an Amended Complaint, ECF No. 19., issued on May
   8th, 2023, to give the plaintiff extra extension time to review the improper formatted
   response, change the word from “no later than May 22, 2023” to “no later than Jun 22,
   2023”, pursuant to FRCP 59(e).

Respectfully submitted,
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                                       ____________/s/ Conghua Yan__________________
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